Case
 Case4:20-cv-00052-TWP-DML
       4:20-cv-00052-TWP-DML Document
                              Document5-1
                                        1 Filed
                                          Filed 03/02/20
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                                                                              #: 118
Case
 Case4:20-cv-00052-TWP-DML
       4:20-cv-00052-TWP-DML Document
                              Document5-1
                                        1 Filed
                                          Filed 03/02/20
                                                03/09/20 Page
                                                         Page 22 of
                                                                 of 66 PageID
                                                                       PageID #:
                                                                              #: 219
Case
 Case4:20-cv-00052-TWP-DML
       4:20-cv-00052-TWP-DML Document
                              Document5-1
                                        1 Filed
                                          Filed 03/02/20
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                                                                       PageID #:
                                                                              #: 320
Case
 Case4:20-cv-00052-TWP-DML
       4:20-cv-00052-TWP-DML Document
                              Document5-1
                                        1 Filed
                                          Filed 03/02/20
                                                03/09/20 Page
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                                                                 of 66 PageID
                                                                       PageID #:
                                                                              #: 421
Case
 Case4:20-cv-00052-TWP-DML
       4:20-cv-00052-TWP-DML Document
                              Document5-1
                                        1 Filed
                                          Filed 03/02/20
                                                03/09/20 Page
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                                                                 of 66 PageID
                                                                       PageID #:
                                                                              #: 522
Case
 Case4:20-cv-00052-TWP-DML
       4:20-cv-00052-TWP-DML Document
                              Document5-1
                                        1 Filed
                                          Filed 03/02/20
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                                                                              #: 623
